Case 3:20-cr-00044-CAR-CHW Document 71-10 Filed 08/18/21 Page 1 of 12

United States of America

Department of the Treasury
Internal Revenue Service

Date: July 28, 2021

CERTIFICATE OF OFFICIAL RECORD

| certify that the annexed: is a graphic print of the electronically filed Form 1044,
U.S. Income Tax Return for Estates and Trusts, captioned Burgess Mattox Bey
Investment Trust, Business Entity Number XX-XXXXXXX, for the tax year 2015,
consisting of eleven (11) pages — ae eee

tmder the custody of this office.

IN WITNESS WHEREOF, | have hereunto set my
hand, and caused the seal of this office to be affixed,
on the day and year first above written.

By the direction of the Secretary of the Treasury:

Jay Elton
Supervisory Investigative Analyst

Internal Revenue Service-Criminal Investigation
Delegation Order 11-5

GOVERNMENT
EXHIBIT

srs |

Form 2666 (Rev. 09-97)
USAO-029204

Catalog Number 19002E *U.S. GPO: 1997-417-690/61741

RAM 07/28/2021
Case 3:20-cr-00044-CAR-CHW Document 71-10 Filed

08/18/21 Page 2 of 12

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DLN: 88236222000048]

Depariment of the Treasury—internal Revenue Service

1 041 U.S. Income Tax Return for Estates and Trusts

Forra

| 2045 sven so

i Information about Form 4041 and its separate instructions is at www.irs.gov/form1041.
A Check all that apply: For calendar year 2015 or fiscal year beginning 01-01-2015, and ending 12-31-2015
C1 pecedent's Estate Name of estate or trust (If a grantor type trust, see the instructions.) Cc Employer identification number
_ BURGESS MATTOX BEY INVESTMENT TRUST a XX-XXXXXXX
oO Simple trust =
D Date entity created

Name and title of fiduciary
Asim El Bey
Trustee

Complex trust

(1 qualified disability trust
oO ESBT (S portion only)
Oo Grantor type trust

Number, street, and room or Suite no. (If a P.O. box, see the instructions.)
2625 Piedmont Road Northeast Ste St

08-06-2015

E Nonexempt charitable and split-
interest trusts, check applicable
box(es), see instructions.

1] Described in seo. 4947(a)(1). Check here

[1] Bankruptcy estate-Ch. 7 [City or town, state or province, country, and Zip or foreign postal code
[} Bankruptcy estate-Ch. 11 Atlanta, GA 30324 ifnota private foundation * eo
1 pooled income fund | © besa in seo. 4947422)
B Number of Schedules K-1 . oe a {7 inital retum Final return NJ] mended relum C1 soperseded Retum {1 net operating loss caryback
ee boxes: oO Change in-tusts name LJ Change in fiduciary Change in fiduciary's name I Change in fiduciary's address
G Check here if the estate or filing trust made a section 645 election w CO trust TIN &
4 Interestincome - «+ * * * * ' 7 * * % < . oe oe y | 1 -4,881,000
2a Total ordinary dividends - «© + + f 5 ot 5 7% soe oe ee : 2a
b Qualified dividends allocable to: (1) Beneficiaries __________.----- (2) Estate ortrust = ---
B 3 Business income or (loss). Attach Schedule C or C-EZ (Form 1040) ~ % & # a & 3
2 4 Capital gain or (loss). Attach Schedule D (Form 1041) = « e = # & 8 4
Ei 5 Rerits, royalties, partnerships, other estates and trusts, etc. Attach Schedule E (Form 1040) : 5
6 Farm income.or (loss). Attach Schedule F (Form 1040) se! * = os ee eS 6
7 Ordinary gain or (loss). Attach Form 4797 es te es os & F wR F 5 7
8 Other income. List type and aMOUNt uo... cenea--neeoo- nomen seen cee e a em TET 8
9 Total income. Combine lines 1, 2a, and 3 throughB +» =» *« + + » oe oe ee 9 4,881,000
40 Interest. Check if Form 4952 is attached kK uO [cs = * & 2 he om he & 10
aioTaxes 8 ee 8 Fh eR som ¢ ’ - | it
o 12 Fiduciary fees oe te ® 8 He Be RT . oo. : 12
£113 Charitable deduction (from Schedule A, line 7) « ss & 8 & soa owe <= 8 13
a 44 Attorney, accountant, and return preparer fees oe ee es & = HB ew oN Es 14
g 45a Other deductions not subject to the 2% floor (attach schedule) a oe ee i ida
3 b Net operating loss deduction (see instructions) . oe i5b
QO c Allowable miscellaneous Itemized deductions subject to the 2% floor ; h & ~ 2 « + » | 5c
46 Add lines 10 through i5c tee & FF coe ee Be we eS Fe : . B® | 16
417 Adjusted total Income or (loss). Subtract line 16 from line 9 . . Laz | 4,881,000
48 Income distribution deduction (from Schedule B, line 15). Attach Schedules K-1 (Form 1044) iB 0
49 Estate tax deduction including certain generation-skipping taxes (attach computation) x i9
20 Exemption + ee eos rot ott tot tt : 2 . » + | 20
a Addlines18through20 - + © eos 7 ot ts ht «ee i x ~ 2 ©] 2t

USAO-029205
Case 3:20-cr-00044-CAR-CHW Document 71-10 Filed 08/18/21 Page 3 of 12

22 Taxable income. Subtract line 21 from line 17. If a loss, see instructions 2 8

23 Total tax (from Schedule G, line 7) toe ee _ 2 4
wo 24 Payments: a 2015 estimated tax payments and amount applied from 2014 return
= b Estimated tax payments allocated to beneficiaries (from Form 1041-T)
2 c Subtract line 24bfromline 24a © © 5 s 5 FF a 8 .
2 d Tax paid with Form 7004 (see instructions) Coe we ee
o& e Federal income tax withheld. If any is from Form(s) 1099, check jp im) %
= Other payments: f Form 2439 __ 2 ------- +g Form 4136 | eee ee
@125 Total payments. Add lines 24c through 242, and 24h 2 5
5 26 Estimated tax penalty (see instructions) > oe os #8 .
r 27. Tax due. If line 25 is smaller than the total of lines 23 and 26, enter amount owed

28 Overpayment. If line 25 is larger than the total of lines 23 and 26, enter amount overpaid

29 Amount of line 28 to be: a Credited to 2016 estimated tax ;b

Z
yr.

22 4,881,000
oe
23 2,116,196

Eo

Decne eae
24e 4,881,000

25 4,881,000

Refunded ®

27
28 2,764,804
29 2,764,804

and to the best of my knowledge and

Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements,

Si belief, itis true, correct, and complete, Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.
ign May the IRS discuss this return with
the preparer shown below (see

Here > instr)?

Signature of fiduciary or officer representing fiduciary Date EIN of fiduciary if a financial institution t

Print/Type preparer's name Preparer's signature Date Q PTIN
# ‘Check if

Paid | self-employed
Preparer Firm's name Firm's EIN
Use Onl

y Firm's address Phone no.

For Paperwork Reduction Act Notice, see the separate instructions.

Cat, No, 11370H

Form LO41 (2015)

USAO-029206
Cc :20-cr-
ase 3:20-cr-00044-CAR-CHW Document 71-10 Filed 08/18/21 Page 4 of 12

Form 1041 (2015) Page 2
Schedule A Charitable Deduction. Do not complete for a simple trust or a pooled income fund.
4 Amounts paid or permanently set aside for charitable purposes from gross income (see instructions) 1
2 Tax-exempt income allocable to charitable contributions (see instructions) toe oe oe ee Zz
3 Subtract line 2 from line 1 ewe ee ee RS FR mF woe eee 3S i
4 Capital gains for the tax year allocated to corpus and paid or permanently set aside for charitable purposes | 4 |
S mie GemS 2 ee sb 8 Kw EF ee et OD Ole 5
6 Section 1202 exclusion allocable to capital gains paid or permanently set aside for charitable purposes (see instructions) es 6
7 Charitable deduction. Subtract line 6 from line 5. Enter here and on page 1, line 13 soe oe oe ee | 7
Schedule B Income Distribution Deduction
1 Adjusted total income (see instructions) . es we oo eS & & & SB . * & @ | a | 4,881,000
2 Adjusted tax-exempt interest 2 es ee # H FF FB _ 2
3 Total net gain from Schedule D (Form 1044), line 19, column (1) (see instructions) Coe ee ee LS
4 Enter amount from Schedule A, line 4 (minus any allocable section 1202 exclusion) toe oe ke | 4
5 Capital gains for the tax year included on Schedule A, line 1 (see instructions) Coe ke | 5 |
6 Enter any gain from page 1, line 4, as a negative number. If page 4, fine, is a loss, enter the loss as a positive number 6
7 Distributable net income. Combine lines 1 through 6. If zero or less, enter -O- oe w be ow eo Pe 4,881,000
8 Ifa complex trust, enter accounting income for the tax year as
determined under the governing instrument and applicable local law e 8 8 4,881,000)
9 Income required to be distributed currently ee ws @ tb ee 8S we oR BH RB Fe | 9 |
10 Other amounts paid, credited, or otherwise required to be distributed Coe ke 10
41. Total distributions. Add lines 9 and i0. If greater than line 8, see Instructions = o# & 11
42 Enter the amount of tax-exempt income included on line 14 oe ees 12
43 Tentative income distribution deduction. Subtract line 12 from line 11 Coe ee 13
14 Tentative income distribution deduction. Subtract line 2 from line 7. If zero or less, enter -0- “oe 14 4,881,000
15 Income distribution deduction. Enter the smaller of line 13 or line 14 here and on page i, line 18 | 15 | 0
Schedule G Tax Computation (see instructions)
1 Tax:a Taxon taxable income (see instructions) a oe kee 1a 1,931,185
b Tax on lump-sum distributions. Attach Ferm 4972 ¢ « &# ib
c. Alternative minimum tax (from Schedule I (Form 1044), line 56) | ic | ‘
d Total. Add lines 1a through ic Coe ee ee . . ew oe Fj id 1,931,185
2a Forelgn tax credit. Attach Form 1116 _ + -— = * 2a
b General business crédit. Attach Form 3800 - oe 8 2b
c Credit for prior year minimum tax. Attach Form 8801 oe ee | 2C
d Bond credits. Attach Form 8912 woe oe 2d
e Total credits. Add lines 2a through 2d a we oe ee ee ee Re BS | 2e
3 Subtract line 2e from line id. If zero of less, enter -0- som eo Re SS eH SO SF 3 1,931,185
4 Net investment income tax from Form 8960, line 21 %) coe ee - op 4 185,014
5  Recapture taxes. Check if from: oO Form 4255 (4 Form 8614 . ss # _ 2
6 Household employment taxes. Attach Schedule H (Form 1040) oe © # = & & ¢ BF 6
7 Total tax. Add Jines 3 through 6. Enter here and on page 1, line 23 aoe ee & 7 2,116,196
Other Information Yes | No
4. Did the estate or trust receive tax-exempt income? if “Yes,” attach a computation of the allocation of é€xpenses. O 1
Enter the amount of tax-exempt interest income and exernpt-interest dividends ®$._.--..------------- 2007
2 Did the estate or trust receive all or any part of the earnings (salary, Wages, and other compensation) of any
individual by reason of a contract assignment or similar arrangement? oom me @ & oe ee F BF F ivi
3  Atany time during calendar year 2015, did the estate or trust have an interest In or a-signature or other authority
over a bank, securities, or other financial account in a foreign country? _« * = et & oR BS L fv
See the instructions for exceptions and filing requirements for FinCEN Form 114. If “Yes,” enter the name of the
foreign country BF__.------=------------- 08 cre cagunenpiiicgenmnnnacsinneaaaineiensninaninst
4 During the tax year, did the estate or trust receive.a distribution from, or was it the grantor of, or transferor to, a
foreign trust? If “Yes,” the estate or trust may fave to file Form 3520. See Instructions toe eee Oo yw
5 Did the estate or trust receive, or pay, any qualified residence interest on seller-provided financing? If “Yes,” see
the instructions for required attachment ee ee ee ew ROH HF RM * s & & ® & [1 i
6 Ifthis is an estate ora complex trust making the section 663(b) election, check here (see instructions) wk a
7 To make a section 643(e)(3) election, attach Schedule D (Form 1041), -and check here (see instructions) .* CT]
8 If the decedent's estate has been open for more than 2 years, attach an explanation for the delay in closing the estate, and check here eC
9 Are aiiy present or future trust bénéficiaries skip persons? See instructions woe ee ee ees dO {vi
Form LOA4 (2015)

USAO-029207
Case 3:20-cr-00044-CAR-CHW: Document 71-10 Filed 08/18/21 Page 5 of 12

Additional Data — _ - ee ess wumrescinitg + tik oa NY

Software ID; 15000311
Software Version: tai5mefvi.O
. EIN: XX-XXXXXXX

Name: BURGESS MATTOX BEY INVESTMENT
TRUST

Header - Business Name Control: BURG

USAO-029208
Case 3:20-cr-00044-CAR-CHW Document 71-10 Filed 08/18/21 Page 6 of 12

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DLN: 88236222000048 |

8960 Net Investment Income Tax—
Zorm Individuals, Estates, and Trusts

* Attach to your tax return.

Deparimentofthe Treasury | Information about Form 8960 and its separate instructions is at wwiw.irs.gov/form8960.

Infernal Revenue Service (99)

OMB No.1545-2227

Attachment
Sequence No. 72

Name(s) shown on your tax return
BURGESS MATTOX BEY INVESTMENT TRUST

Your social security number or EIN

XX-XXXXXXX
Parti Investment Income LI Section 6013(g) election (see instructions)
C1 Section 6013(h) election (see instructions)
O Regulations section 4.1411-10(g) election (see instructions)
1 Taxable interest (see instructions) . * - *» & * ~ oo. 3 “ ~ J a4 4,881,000
2 Ordinary dividends (see instructions) eee si 2
3 Annuities (see instructions) _ ee © © we FH e+ * & 3
4a Rental real estate, royalties, partnerships, S corporations, trusts, etc.
(see instructions) Cee 4a
b Adjustment for net income or loss derived in the ordinary course of a non- |
section 1411 trade or business (see instructions) » -» * *© ° *¢ 4b
c Combinelinesdaand4b- © + 8 ef 5 oe fF * « « « - * = #* 4c
5a Net gain or loss from disposition of property (see instructions) © " * 5a
b Net gain or loss from disposition of property ‘that Is not subject to net
investment income tax (see instructions) - + + + = f° 5b
c Adjustment from disposition of partnership interest or S corporation stock
(see instructions) 2 « « « © = # & @ & F & | 5c | 0
d Combinelines5athroughS5¢ - - © * 5 os 6 FFF . | 5d |
6 Adjustments to investment income for certain CFCs and PFICs (see instructions) = * 6
7 Other modifications to investment income (see instructions) +» + + + 8 : | 7 |
8 Total Investment income. Combine lines 1, 2,3, 4c, 5d,6,and7 +» + + + + + s & 8 4,881,000
Fart il Investment Expenses Allocable to Investment Income and Modifications
’ 9a Investment interest expenses (see Instructions) +» = = Sa
b State, local, and foreign income tax (see instructions) -  - 9b
c Miscellaneous Investment expenses (see Instructions) - oe oe | 9c
d Addlines9a,9b,and9ce 2. + 8 ef oe oF RF 8 . # 9d
40 Additional modifications (see instructions) woe ee 10
41 Total deductions and modifications. Add lines 9dand 10 = + + + 3 “ ii
Partlil Tax Computation
42 Net Investment income: Subtract Part IZ, line 14 from Part I, line 8. Individuals complete lines 13-17.
Estates and trusts complete lines 48a=21. If zero or less, enter -0- .« * © * @ 8 8 12 4,881,000
Individuals:
43 Modified adjusted gross income (see instructions) » +» » + 6 * 13
44 Threshold based on filing status (see instructions) eo» = = & 14
15 Subtract Hne 14 from line 13. If zero or less, enter-0- - -» «+ 15
16 Enter thé smaller of iine 12 or linei5. oo. 28 © 8 = 2 i 3s om # # 16
17. Net investment income tax for individuals, Multiply line 16 by 3.8% (.038).
Enter here and include on your tax return (see instructions) + + > i 47
Estates and Trusts:
18a Net investment income (line 12 above) eo. ee a 18a 4,881,000
b Deductions for distributions of net investment income and deductions
under section 642(c) (see instructions) oe we es * # * & | 186 | |
c Undistributed net investment income. Subtract line 18b from 18a :
(see instructions). If zero or Jess, enter -O-. + so» & « 18c 4,881,000
49a Adjusted gross Income (see instructions) - = © + * * * * 19a 4,881,000
b Highest tax bracket for estates and trusts for the year (see instructions) 19b 12,300
c Subtract line 19b from line 19a. Tfzero orless, enter -O- =» + + + 19¢ 4,868,700
20 Enter the smaller oflinei8corlinei9c 2 © © e 8 woe eee 20 4,868,700
21 Net investment income tax'for estates and trusts. Multiply line 20 by 3.8% (-038).
Enter here and include on your tax return (see instructions) = + # + + os 21 485,011
‘Cat. No, 59474M Form g960 (2015)

For Paperwork Reduction Act Notice, see your tax return instructions.

USAO-029209
Case 3:20-cr-00044-CAR-CHW Document 71-10 Filed 08/18/21 Page 7 of 12

_ Additional Data

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Software ID: 15000311
Software Version: ta i5mefvi.0
EIN: XX-XXXXXXX
Name: BURGESS MATTOX BEY INVESTMENT TRUST

USAO-029210
Case 3:20-cr-00044-CAR-CHW Document 71-10 Filed 08/18/21 Page 8 of 12

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TY 2015 Other Withholding
Statement __

Name: BURGESS MATTIOX BEY INVESTMENT TRUST
EIN: XX-XXXXXXX
Software ID: 15000311

Software Version: tai5mefvi.0

Withholding Cade Withholding Amount

FORM 1099

4,881,000 |

USAO-029211
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DLN: 88566222954298 |

Schedule K-1
(Form 1041)

Department of the Treasury
internal Revenue Service

2015

For calendar year 2015,
or tax year beginning 01-01-2015 _,
and ending 12-31-2015

Beneficiary's Share of Income, Deductions,
Credits, etc. } See back of form and instructions.

661114

[1 Final K-1 M] amended K-1 OMB No. 1545-0092

Beneficiary’s Share of Current Year Income,

Part Tit a it
Deductions, Credits, and Other Items

1 ; Interest income L1 : Final year deductions

PartI Information About the Estate or Trust

2a : Ordinary dividends

A Estate's or trust's employer identification number
XX-XXXXXXX

B Estate's or trust's name
BURGESS MATIOX BEY INVESTMENT TRUST

C Fiduciary’s name, address, city, state, and ZIP code
2625 Piedmont Road Northeast Ste St
Atlarita, GA 30324

4c : Unrecaptured section 1250 gain

0
2b : Qualified dividends
5 apa pusnndaienpsni ath Snacannesnnty
3 ; Net short-term capital gain eee
0
4a : Net long-term capital gain conn baibees ccescacesns BO
0
4b : 28% rate gain |
6 42 jAlternative minimum tax adjustment

D oO Check if Form 1041-T was filed and enter the date it was filed

—_——<————

E Check if this is the final Form 1041 for the estate or trust

DO  Lenwibs eames Spica
5 : Other portfolio and
i nonbusiness income
: 0
6 ; Ordinary business income cesses edoeeunuie sstiuunemensauensmee es tn ganna snes sae
0
7 Net rental real estate income = J-==+-= noe tuuse enue wenn cnais sane seameeneene setae
0
8 : Other rental income :
. 13 ; Credits and credit recapture
0
Q : Directly apportioned deductions
4 ; Other Information
10 : Estate tax deduction
0

Part it Information About the Beneficiary

F  Beneficlary's identifying number
XX-XXXXXXX

G Beneficlary’s name, address, city, state, and ZIP code
MARQUET ANTWAIN BURGESS MATTOX TRUST

2625 Piedmont Rd NE
56-507
Atlanta, GA 30324

H 4 Domestic beneficiary Foreign beneficiary

*See attached statement for additional information.

Note. A statement must be attached showing the
beneficiary's share of income and directly apportioned
deductions from each business, rental real estate, and
other rental activity.

KY
a

For IRS’ Use Ont

For Paperwork Reduction Act Notice, see the Instructions for Form 1041.

Schedule K-1 (Form 1041) 2015

USAO-029212

TRS.gov/form1041 Cat, No. 11380D
Case 3:20-cr-00044-CAR-CHW Document 71-10 Filed 08/18/21 Page 10 of 12

Additional Data

Software ID:
Software Version:
EIN:

Name:

15000311

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XX-XXXXXXX

BURGESS MATTOX BEY INVESTMENT TRUST

USAO-029213
Case 3:20-cr-00044-CAR-CHW Document 71-10 Filed 08/18/21

ot = Return Processable Date
Filer EIN

_ Filer Name
Fiduciary Title
Name Control
 Filer'U.S. Address

DLN
Return Type

. Filing Type

Tax Period

‘additional Return Summary bata
Time Stamp

Tax Period Begin Date

Tax Period End Date

Software ID

Software Version

Multiple Software Packages Used?
Signature Option

Tax Year |

Binary Attachment Count

‘IP Address

‘Device ID

Schedule K-i (104i) (986080232) |

Other Withholding Statement ]

Amended Retum Changes |

8453 Signature Document ]

“XX-XXXXXXX
BURGESS MATTOX BEY INVESTMENT TRUST

Trustee

BURG

2625 Piedmont Road Northeast Ste St

Atlanta, GA 30324
88236222000048

1041

201512 pO

2017-10-29723:19:00-06:00 »

2015-01-01

2015-12-31

15000311

cel afnen

No ..

BINARY ‘ATTACHMENT 8453 SIGNATURE DOCUMENT
2015

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USAO-029214

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. U.S. Estate or Trust Declaration OMB No. 1845-0987
rom 8453-FE for an IRS e-file Return

For calendar year 2015, or fiscal year beginning ____ , and ending —___________ 2 0 1 5
Department of the Treasury P File electronically with the estate's or trust's return. Do not file paper copies.
Internal Revenue Service > Information about Form 8453-FE and its instructions is at www.irs.gov/form8453fe.
Name of estate or trust Employer identification number
BURGESS MATTOX BEY INVESTMENT TRUST XX-XXXXXXX

Name and title of fiduciary

Asim El Bey , Trustee

Tue Tax Return Information

4 Total income (Form 1041, line9). 2. ee es 1 4,881,000.
2 Income distribution deduction (Form 1041, line18)............-..22000+0 2-0-5 2 QO.
3 Taxable income (Form 1041, line 22)... 0. 2 ees 3 4,881,000.
4 Total tax (Form 1041, line 23)... 0 ee eee 4 2,116,196.
5 Tax due or overpayment (Form 1041, line 27 or 28)... 2... ee 5 2,764,804.

Gta) Declaration of Fiduciary

6 L] | authorize the U.S. Treasury and its designated Financial Agent to initiate an ACH electronic funds withdrawal (direct debii) entry to the financial institution
account indicated in the tax preparation software for payment of the estate's or trust's taxes owed on this return, and the financial institution to debit the entry to
this account. To revoke a payment, | must contact the U.S. Treasury Financial Agent at 1-888-353-4537 no later than 2 business days prior fo the payment
(setilement) date. | also authorize the financial institutions involved in the processing of the electronic payment of taxes to receive confidential information
necessary to answer inquiries and resolve issues related to the payment.

Under penalties of perjury, | declare that the above amounts (or the amounts on the attached listing) agree with the amounts shown on the corresponding lines of the
electronic portion of the 2015 U.S. Income Tax Return(s) for Estates and Trusts. | have also examined a copy of the retun(s) being filed electronically with the IRS, and all
accompanying schedules and statements. To the best of my knowledge and belief, they are true, correct, and complete. If | am not the transmitter, | consent that the return(s),
including this declaration and accompanying schedules and statements, be sent to the IRS by the return transmitter. | also consent to the IRS's sending the ERO and/or
transmitter an acknowledgement of receipt of transmission and an indication of wheiher or not the return(s) is accepted, and, if rejected, the reason(s) for the rejection.

Sign Asim El Bey p 30th, October 2017
Date

Here Petters of fiduciary or officer representing fiduciary

GE) | Declaration of Electronic Return Originator (ERO) and Paid Preparer (see instructions)

| declare that I have reviewed the above estate or trust return(s) and that the entries on Form 8453-FE are complete and correct tothe best of my knowledge. If! am only a
collector, | am not responsible for reviewing the return(s), and only declare that this form accurately reflects the data on the return(s). The fiduciary or an officer representing
the fiduciary will have signed this form before | submit the return(s). | will give the fiduciary or officer representing the fiduciary a copy of all forms and infoimation to be filed
with the IRS, and have followed all other requirements described in Pub. 4164, Modernized e-File Guide for Software Developers and Transmitters. If lam also the Paid
Preparer, under penalties of perjury | declare that | have examined {he above estate or trust return(s) and accompanying schedules and statements, and fo ihe best of my
knowledge and belief, they are true, correct, and complete. Declaration of preparer is based on all information of which the preparer has any knowledge.

' Date Check if Check if ERO's SSN or PTIN
1 —— > also paid self-
ERO's signatur preparer > [~] [employed I
Use Firm's name (or yours = :
Onl if sélemployed), > EIN>
y address, and ZIP code PhONeG.

Under penalties of perjury, | declare that [have examined the above estate or trust return(s) and accompanying schedules and statements, and to the best of my knowledge
and belief, they are true, correct, and complete. Declaration of preparer is based on all information of which the preparer has any knowledge.

P ai d Print/Type preparer's name Preparer's signature Date Check L] if PTIN
self-employed
Preparer
Use Only Firm'sname > Firm's EIN >
‘Phone ho.

Firm's address >

For Privacy Act and Paperwork Reduction Act Notice, see instructions.
UYA

USAO-029215

Form 8453-FE (2015)

